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 7

 8

 9                            UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10

11
     NICHOLE 0.
12                                              CASE NO:
                 Plaintiff,                     COMPLAINT FOR
13
     vs.
14                                              1. Civil Rights Action
     COUNTY OF RIVERSIDE, a                     (42 u.s.c. § 1983)
15                                              2. Substantive Due Process (42
     public entity; MICHAEL DEAN,
16   and DOES 1 through 10, Jointly and         u.s.c. § 1983)
     Severally,                                 3. Supervisory Liability
17                                              (42 u.s.c. § 1983)
18               Defendants.                    4. Monell Liability
                                                (42 u.s.c. § 1983)
19                                              5. Sexual Assault
20
     1~------------

21                                               I.
22                               VENUE AND JURISDICTION
23

24   1.    This action is brought pursuant to 42 U.S.C. §§ 1983, and Fourth, Fifth and
25
     Fourteenth Amendments of the United States Constitution. Jurisdiction is founded on
26

27

28

     COMPLAINT AND JURY DEMAND                                                           1
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         1   29 U.S.C. §§1331 and 1343(1), (2), (3) and (4), and the aforementioned statutory and
         2
             Constitutional provisions.
         3

         4
             2.     Venue is proper in the United States District Court for the Central District of
         5
____ _ California, Count~__!,o~f~R~i'-.!_v=er'"""'s"""'id""'e'-'--._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    0

         7
                                                           II.
         8

         9
                                                  INTRODUCTION
        10

        11
             3.     While employed as a sheriff deputy for the County of Riverside, Michael Dean
        12

        13   sexually assaulted Plaintiff during the course of an official call for service to

        14   Plaintiff's home, and then later, Michael Dean made contact with Plaintiff at her
        15
             home after the sexual assault.
        16

        17
             4.     This civil rights action seeks redress from Defendants Michael Dean and the
        18

        19   County of Riverside for violating Plaintiff's rights under the United States

        20   Constitution. Accordingly, this case is in the public interest.
        21

        22                                                 III.
        23
                                                       PARTIES
        24

        25
             5.     At all times relevant hereto, PlaintitiNICHOLE 0. was a resident of the
        26
             County of Riverside, California. Plaintiff is a victim of sexual assault and battery, and
        27

        28   therefore her last name is not disclosed in this complaint.

             COMPLAINT AND JURY DEMAND                                                                    2
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      1   6.    At all times mentioned herein, defendant COUNTY OF RIVERSIDE was a
      2
          public entity duly organized and existing under and by virtue of the laws of the state
      3

      4   of California.

      5
----T--   _7,   At alltimes r~le_yant herein,__MICHAEL_DEAN_ancLD_QES_l__thro_ugh_3_, _ _

      7   (hereafter "SHERIFF DEPUTY/SHERIFF DEPUTIES DEFENDANTS") were
      8
          residents of the County of RIVERSIDE, and were SheriffDeputies, sergeants,
      9

    10
          commanders, detectives, and/or civilian employees, agents and representatives of the

     11   COUNTY OF RIVERSIDE SHERIFF DEPARTMENT employees, agents and
    12
          representatives of the COUNTY OF RIVERSIDE. At all times relevant hereto, said
    13

    14    defendants were acting within the course and scope of their employment as officers,

    15    sergeants, captains and chiefs of police, policy makers, and/or civilian employees of
    16
          the RIVERSIDE SHERIFF'S DEPARTMENT. At all times relevant herein, said
    17

    18    defendants were acting under color of law, to wit, under the color of the statutes,

    19    ordinances, regulations, policies, customs, practices and usages of defendants
    20
          COUNTY OF RIVERSIDE, Sheriffs department.
    21

    22
          8.    Defendant MICHAEL DEAN is directly liable for Plaintiffs injuries under
    23

    24
          federal law pursuant to 42 U.S.C. § 1983, and Defendant is sued in his individual

    25    capacity for damages only.
    26
    27

    28

          COMPLAINT AND JURY DEMAND                                                             3
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         1   9.    The County of Riverside has a duty to indemnify MICHAEL DEAN for his
         2
             conduct pursuant to Cal. Govt. Code Section 825, et al.
         3

         4
             10.   At all times relevant herein, defendant DOES 4 through 5, (hereafter
         5
-------.~1- -=-:_Sll£ERYISJND_QpEICERD_EFENDANIS~)_were_residents_of_the__C_o_unty_of__ _


         7   RIVERSIDE, and were sheriff deputies, sergeants, detectives, captains, lieutenants,
         8
             chiefs of police, and/or civilian employees, agents, and representatives of the
         9

        10
             COUNTY OF RIVERSIDE SHERIFF'S DEPARTMENT. At all times relevant

        11   hereto, said defendants were acting within the course and scope of their employment
        12
             as officers, sergeants, captains and chiefs of police, policy makers, and/or civilian
        13

        14   employees of the COUNTY OF RIVERSIDE SHERIFF'S DEPARTMENT. At all

        15   times relevant herein, said defendants were acting under color of law, to wit, under
        16
             the color of the statutes, ordinances, regulations, policies, customs, practices and
        17

        18   usages of defendant COUNTY OF RIVERSIDE, its SHERIFF'S DEPARTMENT.

        19
             11.   At all times relevant herein Defendant DOES 6-10 are those persons within the
        20

        21   COUNTY OF RIVERSIDE SHERIFF'S DEPARTMENT charged with the
        22
             implementation ofthe "Board of Rights" ("BOR") procedures, all ofwhom are sued
        23

        24
             in both their personal and official capacity. Under the rules and regulations of the

        25   RIVERSIDE POLICE and the COUNTY OF RIVERSIDE, DOES 6-10 set the Board
        26
             of Rights policies and procedures knowing, or willfully ignoring, that this procedure
        27

        28   constitutes nothing more than an opportunity for COUNTY OF RIVERSIDE Sheriff

             COMPLAINT AND JURY DEMAND                                                               4
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 1    Deputies deemed guilty of misconduct by the department to appeal to a favorable
 2
      arbitration body that will exonerate them despite overwhelming evidence of guilt.
 3

 4    Fmihermore, these defendants instituted, or allowed, and continue to allow, to exist,

 5    policies and procedures that punished RIVERSIDE Sheriff Deputies for coming
-0-
      forward regarding allegations of corruption while at the same time covering the
 7

 8    corruption within the ranks of the RIVERSIDE SHERIFF'S DEPARTMENT by

 9    exonerating those officers accused of misconduct no matter the strength of the
10
      evidence of their guilt. Through their actions and inactions, these defendants adopted,
11

12    ratified, and institutionalized patterns and practices of misconduct as those officers

13    coming before them knew that they would be exonerated no matter what their
14
      misconduct and the strength of the evidence against them.
15

16
      12.   PLAINTIFF is ignorant of the true names and capacities of defendants sued
17

18    herein as DOE defendants 1 through 10, inclusive, and therefore sue these defendants

19    by such fictitious names. PLAINTIFF will amend this complaint to allege their true
20
      names and capacities when ascertained. PLAINTIFF is informed and believes and
21

22    thereon alleges that each of the fictitiously named defendants is responsible in some

23    manner for the occurrences herein alleged, and that PLAINTIFF's injuries as herein
24
      alleged were proximately caused by the acts and/or omissions of said fictitiously
25

26    named defendants.

27

28

      COMPLAINT AND JURY DEMAND                                                                5
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 1   13.   At all times relevant herein, SUPERVISORY OFFICER DEFENDANTS were
 2
     supervisors and/or policy makers for the COUNTY OF RIVERSIDE and the
 3

 4   RIVERSIDE SHERIFF, and/or agents with both apparent and actual authority for the

 5   COUNTY OF RIVERSIDE. These Defendants instituted, and knowingly and

     intentionally assured the continued existence of procedures employed by the
 7

 8   RIVERSIDE POLICE that served no purpose but to put a seal of approval on acts of

 9   misconduct employed by officers within the ranks of the RIVERSIDE SHERIFF'S
10
     DEPARTMENT.
11

12
                                              IV.
13

14            FACTS COMMON TO ALL COUNTS/CAUSES OF ACTION

15   14.   Based on information and belief, Plaintiff alleges that on February 19,2019,
16
     Officer MICHAEL DEAN, DOES 1 through 3 and others, while in the course and
17

18   scope of their employment, responded to a call for service at 13211 Wild Sage Lane,

19   Moreno Valley CA 92553, which was Plaintiffs home. Plaintiff, who was under the
20
     influence of recreational cannabis and experiencing an episode of perceptual
21

22   disturbance and psychosis, was in distress. Plaintiff walked out of her home and

23   walked around her front yard wearing only a bathrobe. Plaintiff took off the robe
24
     while in her front yard and re-entered her home. A neighbor noticed that Plaintiff
25

26   appeared in distress and called 911. Unbeknownst to Plaintiff or the neighbor who

27   called 911, Riverside County Sheriff Deputy MICHAEL DEAN responded to the call
28

     COMPLAINT AND JURY DEMAND                                                            6
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 1    and arrived at Plaintiffs address, described above. Sheriff Deputy MICHAEL DEAN
 2
      entered Plaintiffs home to find Plaintiff alone, naked, and in a state of confusion and
 3

 4    distress. Sheriff Deputy MICHAEL DEAN told Plaintiff to lay down on the couch

 5    and assured Plaintiff that he was there to help her. Due to the perceptual disturbance
 0-
      and psychosis Plaintiff was experiencing, Plaintiff believed that she was experiencing
 7
 8    an alternate reality where DEAN was her uncle, someone she could trust to help her.

 9    SheriffDeputy MICHAEL DEAN then told Plaintiff that in order to help her calm
10
      down, Plaintiff needed to masturbate for him while laying down on the couch. As
11

12    Plaintiff laid down on the couch, she began to drift in and out of consciousness.

13    Sheriff Deputy MICHAEL DEAN then grabbed an object from the living room and
14
      told Plaintiff that she would calm down if she placed the object in her genital
15

16    opening. Sheriff Deputy MICHAEL DEAN then proceeded to sexually assault

17    Plaintiff, by groping her vagina, genital area, her breasts, and inserted the object into
18
      Plaintiffs vagina, during which Plaintiff lost consciousness. These heinous acts were
19

20    performed against Plaintiffs will and without her consent while she was in and out of

21    consciousness. Sheriff Deputy MICHAEL DEAN sexually assaulted Plaintiff with a
22
      foreign object and did cause the penetration of Plaintiffs genital opening with the
23
24    foreign object while she was unconscious. Sheriff Deputy MICHAEL DEAN pushed
25    the object into Plaintiff multiple times. Sheriff Deputy DEAN also took pictures of
26
      Plaintiff on the couch while being penetrated by the foreign object. Plaintiff was
27
28    prevented from resisting due to her distressed condition, unconscious state or

      COMPLAINT AND JURY DEMAND                                                               7
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 1   intoxication, and this condition was known, or reasonably should have been known
 2
     by Sheriff Deputy MICHAEL DEAN at the time of the incident. Paramedics/EMT
 3

 4   were summoned to the home and Plaintiff was transported to Riverside University

 5   Health System Medical Center ("RUH"). Plaintiff regained consciousness at RUH

     while being treated by nursing staff, who she believed to be her mother. Plaintiff's
 7

 8   diagnosis was "Marijuana intoxication, with perceptual disturbance".

 9   15.   After being discharged from RUH, Plaintiff was not provided with an incident
10
     report from the Riverside County Sheriff's Department or any other documents
11

12   indicating who responded and what had occurred at her home. Due to the episode of

13   perceptual disturbance and psychosis that Plaintiff experienced at the time of assault,
14
     Plaintiff was unable to explain exactly who entered her home and who sexually
15

16   assaulted her.

17

18   16.   On the day of the incident, PlaintiffNICHOLE 0., due to her condition, was

19   unconscious and unaware of what exactly had occurred at her home. Plaintiff did not
20
     know the identity of Sheriff Deputy MICHAEL DEAN nor was Plaintiff aware of the
21

22   police agency for whom MICHAEL DEAN was employed. Plaintiff discovered the

23   identity ofSheriffDeputy MICHAEL DEAN on November 16,2020, when she
24
     received a call from an investigator from the County of Riverside Sheriff's
25

26   Department. The investigator advised Plaintiff that on February 19, 20 19, Riverside

27   County Sheriff Deputy MICHAEL DEAN took photographs of her while she was
28

     COMPLAINT AND JURY DEMAND                                                              8
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 1    unconscious on the couch. The photographs were discovered on the personal
 2
      cellphone of Sheriff Deputy MICHAEL DEAN. Plaintiff learned for the first time on
 3

 4    this date, November 16,2020, that Sheriff Deputy MICHAEL DEAN was the person

 5    who sexually assaulted her on February 19, 2019, and that DEAN was a sheriff
 a-
      deputy employed by the County of Riverside.
 7

 8
      17.   On April21, 2021, Sheriff Deputy MICHAEL DEAN was criminally charged
 9

10
      by the Riverside County District Attorney's office for the sexual assault of another

11    victim and the sexual assault of Plaintiff. The criminal case is still pending.
12
      18.   The COUNTY OF RIVERSIDE and its employees, including Riverside
13

14    County Sheriff Deputy MICHAEL DEAN and/or DOE 1 violated Plaintiff,

15    NICHOLE O'S, state and federal civil rights and constitutional rights.
16

17    19.   NICHOLE 0. is informed and believes and thereon alleges that the COUNTY
18
      OF RIVERSIDE and its employees, including DOE 1, in his or her official capacity
19

20
      and Riverside County Sheriff Deputy MICHAEL DEAN either discriminated against

21    NICHOLE 0. because of her gender or her ethnicity as a Hispanic woman. The
22
      COUNTY OF RIVERSIDE knowingly and deliberately fostered, maintained, and
23

24
      condoned a policy, practice and custom or otherwise acted in a manner that was

25    deliberately indifferent to the lives and liberty of persons such as NICHOLE 0. and
26
      that such policy, practice, custom and/or actions were a direct and legal cause of her
27

28
      injuries. The policy, practice, custom, and actions included, without limitation,

      COMPLAINT AND JURY DEMAND                                                              9
  Case 5:22-cv-00069-JWH-KK Document 1 Filed 01/11/22 Page 10 of 27 Page ID #:10




    1    knowingly and deliberately failing to properly train, discipline and supervise
    2
         employees regarding officers who have been reported to have sexually assaulted
    3

    4    other women. At the time of the sexual assault inflicted on NICHOLE 0. by

    5    Riverside County Sheriff Deputy MICHAEL DEAN, the COUNTY OF RIVERSIDE
·--()-
         SHERIFF'S DEPARTMENT had in place, and had ratified, policies, procedures,
    7

    8    customs, and practices which permitted and encouraged their Sheriff Deputies to

    9    unjustifiably, unreasonably, and in violation of the Fourth and Fourteenth
   10
         Amendments, use violence, force, and intimidation against females being detained or
   11

   12    questioned by officers and not responding to the complaints of women, and

   13    particularly Hispanic women. Said policies, procedures, customs, and practices also
   14
         called for the COUNTY OF RIVERSIDE not to discipline, prosecute or in any way
   15

   16    take corrective or responsive action to known incidents and/or complaints of sexual

   17    assault by said officers or the related claims and lawsuits resulting from such acts.
   18

   19    20.   Said policies, procedures, customs and practices called for the refusal of the
   20
         COUNTY OF RIVERSIDE to investigate or document complaints of previous
   21

   22    incidents of sexual assault and violence and, instead, officially claim that such

   23    incidents were justified and proper or completely deny their occurrence.
   24

   25    21.   The COUNTY OF RIVERSIDE's policies, procedures, customs and practices
   26
         of inaction and cover-up encouraged officers of RIVERSIDE SHERIFF'S
   27

   28
         DEPARTMENT, including Riverside County Sheriff Deputy MICHAEL DEAN, to

         COMPLAINT AND JURY DEMAND                                                               10
      Case 5:22-cv-00069-JWH-KK Document 1 Filed 01/11/22 Page 11 of 27 Page ID #:11




         1   believe that such sexual assaults were permissible, in particular against individuals of
         2
             minority groups.
         3

         4
             22.   The COUNTY OF RIVERSIDE, and its employees, including RIVERSIDE
         5
___--o __county_sheriff_deputy_MiCH.ABLllEAN,_ancLDDES_LthroughlviolatecLthe_ _

         7   Plaintiffs civil rights and constitutional rights including unlawful search and seizure.
         8

         9   23.   The COUNTY OF RIVERSIDE, and its employees knowingly and deliberately
        10
             fostered, maintained and condoned a policy, practice and custom or otherwise acted
        11
             in a manner that was deliberately indifferent to the lives and liberty of persons such
        12

        13   as NICHOLE 0. and that such policy, practice, custom and/or actions were a direct
        14
             and legal cause of her injuries. The policy, practice, custom, and actions included,
        15
             without limitation, knowingly and deliberately failing to properly train, discipline and
        16

        17   supervise employees regarding both the use of force, including deadly force, and the
        18
             proper procedures to be followed in detaining individuals.
        19

       20
             24.   At the time of the sexual assault and violence inflicted on NICHOLE 0. the
       21
             RIVERSIDE COUNTY SHERIFF's DEPARTMENT, DOES 1 through 10 had in
       22
       23    place, and had ratified, policies, procedures, customs and practices which permitted
       24
             and encouraged their Sheriff Deputies to unjustifiably, unreasonably and in violation
       25
             of the Fourth and Fourteenth Amendments, use violence against individuals being
       26
       27    detained. Said policies, procedures, customs and practices also called for the
       28

             COMPLAINT AND JURY DEMAND                                                              11
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               1   COUNTY OF RIVERSIDE not to discipline, prosecute or in any way take corrective
               2
                   or responsive action to known incidents and/or complaints of sexual assault and
              3

               4   violent acts by said officers or the related claims and lawsuits resulting from such

                5 violence.
--~--   -----,.6-1

              7    25.    Said policies, procedures, customs and practices called for the refusal of the
               8
                   COUNTY OF RIVERSIDE to investigate or document complaints of previous
               9

              10
                   incidents of violence and, instead, officially claim that such incidents were justified

             11    and proper, or completely deny their occurrence.
              12

             13    26.    PLAINTIFF continues to suffer from the injuries proximately caused by
             14

              15   defendants' wrongful, false, and malicious arrest, detention, intimidation and sexual
             16
                   assault of Plaintiff.
              17

              18                                              v.
             19
                                           FIRST COUNT/CAUSE OF ACTION
             20

             21          VIOLATION OF CONSTITUTIONAL RIGHT TO BE FREE FROM
             22                              (42 U.S.C. § 1983 4th Amendment)
             23
                                     UNREASONABLESEARCHESANDSEIZURES
             24

             25            [As to MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS
             26
                                                     DOES 1 through 3]
             27

             28

                   COMPLAINT AND JURY DEMAND                                                               12
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     1   27.    PLAINTIFF repeats, re-alleges and incorporates each and every allegation of
     2
         each and every paragraph above as though fully set forth herein.
     3

     4
         28.    This action is brought pursuant to 42 U.S.C. § 1983, and the Fourth
     5
--__,._,_ -An1endm.enLofJhe_UnitecLS.tates_Constitution.~-------------
     6

     7
         29.    At all times relevant hereto, PLAINTIFF possessed the right, guaranteed by the
     8

     9   Fourth Amendment of the United States Constitution, to be free from unreasonable
    10
         searches, seizures, and uses of force by Sheriff Deputies acting under the color of
    11
         law.
    12

    13
         30.    As described above, MICHAEL DEAN and SHERIFF DEPUTY
    14

    15   DEFENDANTS violated PLAINTIFF'S Fourth Amendment rights by unlawfully and
    16
         unreasonably detaining, intimidating, and touching PLAINTIFF, including the sexual
    17
         assault, without reasonable suspicion or probable cause that any crime had occurred.
    18

    19
         31.    In doing these things, said defendants acted specifically with the intent to
    20

    21   deprive PLAINTIFF of her constitutional rights under the Fourth Amendment to be

    22   free from unreasonable seizures.
    23

    24   32.    Said defendants subjected PLAINTIFF to the aforementioned deprivations by
    25
         either actual malice, deliberate indifference or a reckless disregard of her rights under
    26
    27   the U.S. Constitution.

    28

         COMPLAINT AND JURY DEMAND                                                             13
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  1   33.   Said defendants acted at all times herein knowing full well that the established
  2
      practices, customs, procedures and policies of the COUNTY OF RIVERSIDE
  3

  4   SHERIFF'S DEPARTMENT would allow a cover-up and allow the continued

  5   violation of the Fourth Amendment of the Constitution of the United States.


  7   34.   As a direct and proximate result of the aforementioned acts of said defendants,
  8
      PLAINTIFF suffered the violation of her constitutional rights as described above. As
  9

 10
      the further actual and proximate result of the acts and omissions of said defendants,

 11   as described herein, PLAINTIFF was made to lose her freedom and liberty for the
 12
      period of time indicated above, this in violation of the Fourteenth Amendment's due
 13

 14   process guarantees. During the above referenced assault in her home, PLAINTIFF

 15   suffered personal and bodily injuries, and during said time she suffered, and
 16
      continues to suffer, severe emotional and psychological pain, suffering, anxiety,
 17

 18   depression, anguish, shock, and fear.

 19

 20
      35.   The aforementioned acts of said defendants were willful, wanton, malicious

 21   and oppressive, thereby justifying the awarding of exemplary and punitive damages
 22
      as to said defendants.
 23

 24
                                                VI.
 25
                           SECOND COUNT/CAUSE OF ACTION
 26
 27    FAILURE TO INTERVENE TO PREVENT CIVIL RIGHTS VIOLATIONS
 28

      COMPLAINT AND JURY DEMAND                                                           14
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  1                                 (42 u.s.c. § 1983)
  2               [As to COUNTY OF RIVERSIDE; DOES 1 THROUGH 5]

  3
      36.   PLAINTIFF repeats, re-alleges and incorporates each and every allegation of
  4

  5   each and every paragraph above as though fully set forth herein.
                                                   ----------------·                        ----·   -
  6

  7   37.   This action is brought pursuant to 42 U.S.C. § 1983, and the Fourteenth
  8
      Amendment of the United States Constitution, for violation of PLAINTIFF'S
  9
      procedural and substantive due process rights.
 10

 11
      38.   At the time and place alleged herein, MICHAEL DEAN and SHERIFF
 12
 13   DEPUTY DEFENDANTS Does 1-3 were present at the immediate scene of the
 14
      assault on PLAINTIFF.
 15

 16   39.   At said date and location, said defendants DOES 1 through 5 were in the
 17
      position and authority to lawfully intervene in and prevent the unjustified, seizure and
 18

 19   unwarranted sexual assault of PLAINTIFF.

 20

 21
      40.   At said date and location, said defendants had ample and reasonably sufficient

 22   time and opportunity to so intervene and prevent the unlawful sexual assault,
 23
      intimidation, detention, and search of PLAINTIFF, and were compelled to do so as
 24

 25   peace officers and supervisors under the laws of the State of California and under the

 26   Constitution of the United States of America.
 27

 28

      COMPLAINT AND JURY DEMAND                                                           15
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  1   41.   At said date and location, in deliberate indifference to PLAINTIFF'S life,
  2
      health and Constitutional rights, said defendants intentionally and with deliberate
  3

  4   indifference to the civil rights of PLAINTIFF, refrained from intervening in said

  5   sexual assault, intimidation and detention.


  7   42.   As a result thereof, said defendants unlawfully seized, sexually assaulted,
  8
      detained, and searched PLAINTIFF in violation of her rights under the Fourth and
  9

 10
      Fourteenth Amendments of the Constitution of the United States of America.

 11
      43.   The aforementioned acts of MICHAEL DEAN and SHERIFF DEPUTY
 12

 13   DEFENDANTS DOES 3 through 5 were willful, wanton, malicious, oppressive and
 14
      shocking to the conscience thereby justifying the awarding of exemplary and punitive
 15
      damages as to said defendants.
 16

 17
                                                VII.
 18

 19                         THIRD COUNT/CAUSE OF ACTION
 20
      SUPERVISORIAL RESPONSIBILITY FOR VIOLATIONS OF PLAINTIFF'S
 21
                                         CIVIL RIGHTS
 22

 23                        (42 U.S.C. § 1983 4th & 14th Amendment)
 24
                [COUNTY OF RIVERSIDE, DOES 4 through 10, Inclusive]
 25

 26
      44.   PLAINTIFF repeats, re-alleges and incorporates each and every allegation of
 27
      each and every paragraph above as though fully set forth herein. This action is
 28

      COMPLAINT AND JURY DEMAND                                                             16
   Case 5:22-cv-00069-JWH-KK Document 1 Filed 01/11/22 Page 17 of 27 Page ID #:17




      1   brought pursuant to 42 U.S.C. § 1983, for violation of PLAINTIFF'S rights under the
      2
          Fourth and Fourteenth Amendments of the U.S. Constitution.
      3

      4
          45.    On the date of PLAINTIFF'S sexual assault, defendants County of Riverside,
      5
-----,.-- -_D_QESA_through_LO,iuclusiv:e,JearnecLaucLhecam.e_aware_of_the_wro.ngfuLancLwillfuL _
        6

      7   attack on PLAINTIFF AND SIMILAR VICTIMS by MICHAEL DEAN and
      8
          SHERIFF DEPUTY DEFENDANTS, DOES 1 through 3.
      9

     10
          46.   Thereafter, defendants County of Riverside, DOES 4 through 10, inclusive,
     11
          conducted an investigation of the assault by personally evaluating the evidence of the
     12

     13   incident, by taking statements from the individuals involved.
     14

     15   47.    Said defendants were aware of the customs, practices, and propensities of their
     16
          subordinates - MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS - to
     17
          conduct illegal and wrongful searches, to make false arrests, to employ excessive and
     18

     19   unnecessary force, to file false police reports in violation of P. C. § 118.1, to falsify
     20
          evidence and to commit perjury to conceal this misconduct, and to unlawfully and
     21
          without probable cause or suspicion detain, arrest and imprison persons; including the
     22

     23   misconduct alleged in the present complaint. Said defendants tolerated, encouraged
     24
          and expressly and impliedly condoned this misconduct by consciously ignoring,
     25
          turning a blind eye to and overlooking and ratifying such misconduct.
     26

     27

     28

          COMPLAINT AND JURY DEMAND                                                                   17
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       1   48.   Notwithstanding this knowledge, said defendants encouraged and facilitated
       2
           such conduct and deliberately and leniently overlooked and ratified the misconduct of
       3

       4   MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS by failing to discipline

       5   said officers, approving false and misleading police reports authored by said officers,
--~----,~11------------~----·-----------------
       6
           and failing to recommend the investigation and criminal prosecution of said officers
       7

       8   for their misconduct, and in the present instance failing to supervise and control

       9   MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS so as to prevent the
      10
           misconduct alleged herein and by failing to train said subordinate officers in the
      11

      12   procedures, laws and practices that would eliminate the risk of the constitutional

      13   violations alleged herein.
      14

      15   49.   By consciously and deliberately overlooking the repeated acts of misconduct
      16
           and criminal acts by their subordinate officers, including their subordinates
      17

      18   MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS said defendants

      19   established a custom and practice of condoning and ratifying such misconduct and
      20
           criminal activity, and established a tolerated pattern of constitutional violations
      21

      22   amongst their subordinate officers. The condoning of misconduct by said defendants

      23   was so comprehensive and well-known that their subordinate officers were
      24
           emboldened to blatantly violate the constitutional rights of any persons the
      25

      26   subordinate officers came into contact with while on duty and while off duty to

      27   commit crimes such as false arrests, perjury, assaults and batteries with impunity.
      28

           COMPLAINT AND JURY DEMAND                                                             18
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  1   50.    Through their conscious disregard for the rights of the persons their
  2
      subordinates would come in contact with persons, and through their custom and
  3

  4   practice of encouraging, condoning, tolerating and ratifying constitutional violations

  5   and criminal activity by their subordinates, said defendants were deliberately

      indifferent to the constitutional violations being committed by their subordinates,
  7

  8   including MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS. Because of

  9   their failure to act to prevent the continuing constitutional violations by their
 10
      subordinates, and because of the establishment of the policies and practices described
 11

 12   above, as well as their failure to adequately train their subordinates, said defendants

 13   are liable for the constitutional violations committed by MICHAEL DEAN and
 14
      SHERIFF DEPUTY DEFENDANTS and for the damages suffered by PLAINTIFF as
 15
 16   described herein.

 17

 18                                             VIII.

 19                         FOURTH COUNT/CAUSE OF ACTION
 20
            MUNICIPAL LIABILITY FOR VIOLATION OF CONSTITUTIONAL
 21

 22                                           RIGHTS

 23    [As to COUNTY OF RIVERSIDE, SUPERVISING OFFICER DEFENDANTS
 24
                    DOES 1- 5 and DOE DEFENDANTS 6 THROUGH 10]
 25

 26
      52.    PLAINTIFF repeats, re-alleges and incorporates each and every allegation of
 27

 28
      each and every paragraph above as though fully set forth herein.

      COMPLAINT AND JURY DEMAND                                                             19
         Case 5:22-cv-00069-JWH-KK Document 1 Filed 01/11/22 Page 20 of 27 Page ID #:20




           1   53.   This action is brought pursuant to 42 U.S.C. § 1983 for violation of
           2
               PLAINTIFF'S rights under the Fourth and Fourteenth Amendments.
           3

           4
               54.   On the date of PLAINTIFF'S sexual assault and unlawful detention indicated
           5
- - · - -r-l- -ab.o¥e.,MlCH-AEL-DEA1~LancLSHERIEEDEE.UT-Y-D-EEEND-ANIS-DOE-Lthrough
         6

           7   3, acting within the course and scope of their duties as peace officers of the
           8
               RIVERSIDE COUNTY SHERIFF'S DEPARTMENT, and COUNTY OF
           9

          10
               RIVERSIDE, deprived PLAINTIFF to be free from unreasonable seizures and

          11   unlawful arrests as delineated herein above, and thereafter in violation of
          12
               PLAINTIFF'S due process rights proceeded to falsify evidence, submit false police
          13

          14   reports and offer perjurious testimony so as to ensure that PLAINTIFF'S claims

          15   would not be disclosed.
          16

          17   55.   At the time of these constitutional violations by Defendants, COUNTY OF
          18
               RIVERSIDE, SUPERVISING OFFICER DEFENDANTS and DOE DEFENDANTS
          19
               3-10 had in place, and had ratified, policies, procedures, customs and practices which
          20

          21   permitted and encouraged their Sheriff Deputies to unjustifiably, unreasonably and in
          22
               violation of the Fourth and Fourteenth Amendments, to unlawfully arrest persons
          23
               without probable cause.
          24

          25
               56.   Said policies, procedures, customs and practices also called for the COUNTY
          26
          27   OF RIVERSIDE and its SHERIFF'S DEPARTMENT not to discipline, prosecute, or
          28

               COMPLAINT AND JURY DEMAND                                                          20
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  1   objectively and/or independently investigate or in any way deal with or respond to
  2
      known incidents and complaints of falsification of evidence, the preparation of false
  3

  4   police reports to justify such wrongful conduct, and wrongful conduct by officers of

  5   the RIVERSIDE SHERIFF'S DEPARTMENT, and for the and COUNTY OF
 C)--
      RIVERSIDE to fail to objectively and/or independently investigate or in any way
  7

  8   deal with or respond to or the related claims and lawsuits made as a result of such

  9   attack on Plaintiff and other victims.
 10

 11   57.   Defendants COUNTY OF RIVERSIDE, SUPERVISING OFFICER
 12
      DEFENDANTS and DOE DEFENDANTS 6 THROUGH 10 were aware of and were
 13

 14   deliberately indifferent to a pervasive and widespread pattern and practice with the

 15   RIVERSIDE COUNTY SHERIFF'S OFFICE of concealing known instances of
 16
      evidence planting, evidence tampering, perjury, falsified police reports, witness
 17

 18   coercion, excessive force, on-duty criminal acts and on-duty acts of moral turpitude.

 19

 20
      58.   Said policies, procedures, customs and practices called for and led to the

 21   refusal of said Defendants to investigate complaints of previous incidents of sexual
 22
      assault, false and unlawful arrests, the filing of false police reports to conceal such
 23

 24
      misconduct, the falsification evidence and perjury and, instead, officially claim that

 25   such incidents were justified and proper, or completely deny said incidents'
 26
      occurrence.
 27

 28

      COMPLAINT AND JURY DEMAND                                                                 21
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  1   59.   Said policies, procedures, customs and practices called for said Defendants, by
  2
      means of inaction and cover-up, to encourage an atmosphere of lawlessness within
  3

  4   the SHERIFF'S DEPARTMENT and to encourage their SheriffDeputies to believe

  5   that improper attacks on residents of the COUNTY OF RIVERSIDE or persons
  6
      present therein, including members of minority groups, the submission of false police
  7

  8   reports, and the commission of perjury was pennissible and to believe that unlawful

  9   acts of falsification of evidence and perjury would be overlooked without discipline
 10
      or other official ramifications.
 11

 12
      60.   Said policies, procedures, customs and practices of said Defendants and each
 13

 14   of them evidenced a deliberate indifference to the violations of the constitutional

 15   rights of PLAINTIFF. This indifference was manifested by the failure to change,
 16
      correct, revoke, or rescind said policies, procedures, customs, and practices in light of
 17

 18   prior knowledge by said Defendants and their subordinate policymakers of

 19   indistinguishably similar incidents of unjustified and unreasonable and unlawful
 20
      arrests, falsification of evidence, evidence tampering, submission of false police
 21

 22   reports and perjury.

 23
      61.   Deliberate indifference to the civil rights of victims, including Plaintiff, by the
 24

 25   RIVERSIDE SHERIFF'S DEPARTMENT through sexual assaults, unlawful arrests,
 26
      falsified evidence, false and misleading police reports and false and perjurious
 27

 28   testimony was also evidenced by said Defendants by their ignoring of the history and

      COMPLAINT AND JURY DEMAND                                                             22
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   1    pattern of prior civil lawsuits alleging civil rights violations, similar to those alleged
   2
        herein, arising from such misconduct and the related payment of judgments to such
   3

   4
        individuals.

   5
--r _, __62.   Del ih.erateindifferenc_eis_also_eYidence_clb¥_an___abs.ence_o_f__oLb~unaintenance
   6
   7    of an inadequate system of tort claims tracking, sexual assault tracking, and by
   8
        maintaining an inadequate system of officer discipline and independent and objective
   9

  10
        investigation by the COUNTY OF RIVERSIDE and its SHERIFF'S

  11    DEPARTMENT, which failed to identify and investigate instances of false arrests,
  12
        and detentions for sexual assault, falsification of evidence, submission of false police
 13

  14
        reports and perjury.

  15
        63.    Deliberate indifference to the civil rights of victims of the RIVERSIDE
 16

  17    POLICE's unlawful arrests and falsified evidence was also evidenced by the failure of
  18
        by said Defendants to adequately train and more closely supervise or retrain officers
 19

 20
        and/or discipline or recommend prosecution of those officers who in fact improperly

 21     used such intimidation and unlawful force to perform sexual assaults and falsify
 22
        evidence, submit false and misleading police reports, and/or commit perjury.
 23

 24
        64.    Other systemic deficiencies of said Defendants which indicated, and continue
 25
        to indicate, a deliberate indifference to the violations of the civil rights by the officers
 26
 27     of the RIVERSIDE SHERIFF'S DEPARTMENT include:
 28

        COMPLAINT AND JURY DEMAND                                                               23
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  1                a. preparation of investigative reports designed to vindicate and/or
  2
            justify false and unlawful arrests;
  3

  4
                   b. preparation of investigative reports which uncritically rely solely on
  5
      ,_ _ the_w_ord of RLV_ERSIDE_Sherifffiep_utiesin_v_olv_eclin_unlaw£ularrests_and~.
  6

  7          which systematically fail to credit testimony by non-officer witnesses;
  8

  9                c. preparation of investigative reports which omit factual information
 10
             and physical evidence which contradicts the accounts of the officers involved;
 11

 12
                   d. issuance of public statements exonerating officers involved in such
 13
             incidents prior to the completion of investigations of wrongful arrests;
 14

 15
      65.    The foregoing acts, omissions, and systemic deficiencies are policies and
 16

 17   customs of said Defendants and such caused, permitted and/or allowed under official

 18   sanction MICHAEL DEAN and SHERIFF DEPUTY DEFENDANTS to be unaware
 19
      of, or intentionally overlook and ignore, the rules and laws governing the probable
 20
 21   cause requirements for arrests, the falsification of evidence or the tampering with
 22   evidence, the submission of false police reports and the commission of perjury in
 23
      criminal trials. The foregoing acts, omissions, and systemic deficiencies are policies
 24

 25   and customs of said Defendants and such caused, permitted and/or allowed under
 26
      official sanction said Sheriff Deputy Defendants to believe that arrests are entirely
 27
      within the discretion of the officer and that improper and unlawful arrests, evidence
 28

      COMPLAINT AND JURY DEMAND                                                               24
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  1   falsification, filing of false and misleading police reports, and the commission of
  2
      perjury would not be objectively, thoroughly and/or properly investigated, all with
  3

  4
      the foreseeable result that Defendants' officers would make false and unlawful arrests,

  5   and falsify evidence, submit false and misleading police reports, and commit perjury,
 0-
      and thereby violate the civil rights of the citizens of this state with whom said officers
  7

  8   would come into contact with.

  9
      66.   As the actual and proximate result of the acts and omissions of said Defendants
 10

 11   as described wherein, PLAINTIFF and other victims lost their freedom and liberty for
 12
      the period stated above in violation of the Fourteenth Amendment's procedural and
 13

 14
      substantive due process guarantees. During said sexual assault, PLAINTIFF suffered

 15   personal and bodily injuries, and during said time she suffered, and continues to
 16
      suffer, severe emotional and psychological pain, suffering, anxiety, depression,
 17

 18
      anguish, shock, and fear. Further, PLAINTIFF has been made to hire lawyers to

 19   defend her and medical specialists for treatment and therapy for her injuries.
 20

 21   67.   The aforementioned acts of MICHAEL DEAN and SUPERVISING OFFICER
 22
      DEFENDANTS and DOE DEFENDANTS 1 THROUGH 10 were willful, wanton,
 23
      malicious and oppressive thereby justifying the awarding of exemplary and punitive
 24

 25   damages as to these Defendants.
 26
 27   //

 28

      COMPLAINT AND JURY DEMAND                                                              25
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           1                                                IX.
           2
                                         FIFTH COUNT/CAUSE OF ACTION
           3

           4                                      SEXUAL ASSAULT

           5                                   [As to MICHAEL DEAN]
----------o---
                 68.    PLAINTIFF re-alleges each and every paragraph in this complaint as if fully
           7

           8     set forth here.

           9     69.   The actions and omissions of MICHAEL DEAN directed at PLAINTIFF, as set
          10
                 forth above, constitute sexual assault.
          11

          12     70.    As a direct and proximate result of Defendant's sexual assault of PLAINTIFF,

          13     PLAINTIFF sustained injuries and damages, and is entitled to relief as set forth
          14
                 below and punitive damages against Defendant in his individual capacity.
          15

          16     71.    As a direct and proximate result of each Defendant's acts and/or omissions as

          17     set forth above, PLAINTIFF sustained the following injuries and damages, past and
          18
                 future, among others:
          19

          20                   a.    Hospital and medical expenses;

          21                   b.    Violation of constitutional rights;
          22
                               c.    All damages and penalties recoverable under 42 USC§§ 1983 and
          23
                                     1988, and as otherwise allowed under California and United States
          24                         statutes, codes, and common law;

          25
                               d.    PLAINTIFF'S conscious pain and suffering, pursuant to federal
          26                         civil rights law;

          27     //
          28

                 COMPLAINT AND JURY DEMAND                                                          26
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  1                                            PRAYER
  2

  3           WHEREFORE, PLAINTIFF NICHOLE 0. demands the following relief,
  4
        jointly and severally, against the defendants named in each cause of action as follows:
  5

        a) Compensatory general and special damages in an amount in acco~dance with
  6
   --
  7     proof;
  8
        b) Exemplary damages, against each of the Sheriff Deputies, supervisory and policy
  9     maker defendants - as spelled out in each cause of action, in an amount sufficient to
        deter and to make an example of those defendants,
 10
 11     c) Reasonable attorneys' fees and expenses of litigation as provided for in42 U.S.C.
        §1988;
 12
 13
        d) Costs of suit necessarily incurred herein;

 14     e) Prejudgment interest, and
 15     f) Such further relief as the Court deems just or proper.
 16
 17     DATED: 1/3/2022                    CURD, GALINDO & SMITH, LLP
 18
                                                    lslr!tew~
 19
                                                    Alexis Galindo
 20                                                Attorneys for Plaintiff
 21
 22                                        JURY DEMAND
 23                             Plaintiff hereby requests a trial by jury.

 24
 25     DATED:       1/3/2022                   CURD, GALINDO & SMITH, LLP

 26
                                                  lslr!tew~
 27                                                 Alexis Galindo
 28                                                Attorneys for Plaintiff

        COMPLAINT AND JURY DEMAND                                                          27
